     Case 5:24-cv-00291-SSS-DTB Document 12 Filed 06/21/24 Page 1 of 1 Page ID #:82




1                                                                        J S -6
2
3
4
5
6
7                         UNITED STATES DISTRICT COURT
8                       CENTRAL DISTRICT OF CALIFORNIA
9                                 EASTERN DIVISION
10                                )
      GILBERT PHILLIP MORENO,                   Case No. 5:24-cv-00291-SSS (DTB)
                                  )
11                                )
                    Petitioner,   )
12                                )
                                  )
13                  v.            )             JUDGMENT
                                  )
14                                )
      CHRISTIAN PFIEFFER, WARDEN, )
15                                )
                                  )
16                  Respondent.   )
                                  )
17
18
           Pursuant to the Order Accepting Findings, Conclusions and
19
      Recommendations of United States Magistrate Judge,
20
           IT IS ADJUDGED that the action is DISMISSED WITH PREJUDICE.
21
22
23            -XQH
      Dated: __________________                  ______________________________
24                                               SUNSHINE S. SYKES
                                                 United States District Judge
25
26
27
28

                                            1
